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           IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:08CR194
                              )
          v.                  )
                              )
PERCY E. GRANT,               )                         ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion

to vacate, set aside, or correct sentence under 28 U.S.C. § 2255

(Filing No. 130).       The Court finds plaintiff should respond to

said motion.   Accordingly,

           IT IS ORDERED that the plaintiff shall file a response

to defendant’s § 2255 motion on or before February 4, 2011.

           DATED this 19th day of January, 2011.

                                      BY THE COURT:

                                      /s/ Lyle E. Strom
                                      ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
